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7                           UNITED STATES DISTRICT COURT
8                          CENTRAL DISTRICT OF CALIFORNIA
9
10   ROGELIO NAVA,             )                  NO. CV 21-7413-RGK (AGR)
                               )
11                Plaintiff,   )
                               )                  JUDGMENT
12      v.                     )
                               )
13   MENTAL HEALTH COURTHOUSE, )
     LOS ANGELES COUNTY,       )
14                             )
                  Defendant.   )
15                             )
16
           Pursuant to the Order Dismissing Complaint Without Leave to Amend,
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18
           IT IS ADJUDGED that the Complaint is dismissed without leave to amend and
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     judgment is entered dismissing the action.
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     DATED: October 5, 2021               __________________________________
23                                                R. GARY KLAUSNER
                                                United States District Judge
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